                Case 2:18-cr-00166-DC Document 35 Filed 04/21/20 Page 1 of 4

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 5

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   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0166 TLN

12                               Plaintiff,             STIPULATION TO CONTINUE STATUS
                                                        CONFERENCE AND EXCLUDE TIME UNDER
13                         v.                           SPEEDY TRIAL ACT; FINDINGS AND ORDER

14   ALEXANDER FRANCO GUTIERREZ,                        DATE: April 30, 2020
     EDUARDO CARTAGENA,                                 TIME: 9:30 a.m.
15                                                      COURT: Hon. Troy L. Nunley
                                 Defendants.
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18                                              STIPULATION
19         Plaintiff United States of America, by and through its counsel of record, and defendants
20 Alexander Franco Gutierrez and Eduardo Cartagena, by and through defendants’ counsel of record,

21 hereby stipulate:

22         1.      By previous order (ECF No. 33), this matter was set for a status conference on April 30,
23 2020.

24         2.      By this stipulation, the parties now move to continue the status conference until July 16,
25 2020, at 9:30 a.m., and to exclude time between April 30, 2020, and July 16, 2020, under Local Code

26 T4.

27         3.      Defendant Gutierrez was arraigned on the charges in the Indictment on November 12,
28 2019. ECF No. 20. Defendant Cartagena was arraigned on December 19, 2019. ECF No. 27.
      STIPULATION TO CONTINUE STATUS
      CONFERENCE AND EXCLUDE TIME UNDER                 1
      SPEEDY TRIAL ACT; FINDINGS AND ORDER
                Case 2:18-cr-00166-DC Document 35 Filed 04/21/20 Page 2 of 4

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 2         4.      The parties agree and stipulate, and request that the Court find the following:

 3                 a)     The discovery produced in this case so far includes voluminous investigative

 4         reports, criminal history information, and recorded statements of the defendant. Discovery

 5         produced to date includes thousands of pages of documents on 70 discs. This discovery has been

 6         produced directly to counsel. The government also plans to make available for inspection certain

 7         communications involving the defendants.

 8                 b)     Counsel for defendants desire additional time to: review the voluminous

 9         discovery; meet with their clients to discuss legal issues, strategies and potential evidence in the

10         case; and review expected forthcoming communications involving the defendants from the

11         government.

12                 c)     Counsel for defendants believes that failure to grant the above-requested

13         continuance would deny them the reasonable time necessary for effective preparation, taking into

14         account the exercise of due diligence.

15                 d)     The government joins in the request for the continuance.

16                 e)     Based on the above-stated findings, the ends of justice served by continuing the

17         case as requested outweigh the interest of the public and the defendant in a trial within the

18         original date prescribed by the Speedy Trial Act.

19                 f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

20         et seq., within which trial must commence, the time period of April 30, 2020 to July 16, 2020,

21         inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

22         because it results from a continuance granted by the Court at defendant’s request on the basis of

23         the Court’s finding that the ends of justice served by taking such action outweigh the best interest

24         of the public and the defendant in a speedy trial.

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      STIPULATION TO CONTINUE STATUS
      CONFERENCE AND EXCLUDE TIME UNDER                  2
      SPEEDY TRIAL ACT; FINDINGS AND ORDER
                 Case 2:18-cr-00166-DC Document 35 Filed 04/21/20 Page 3 of 4

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 2          5.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 4 must commence.

 5          IT IS SO STIPULATED.

 6   Dated: April 20, 2020                                    MCGREGOR W. SCOTT
                                                              United States Attorney
 7
                                                              /s/ CHRISTINA McCALL
 8                                                            CHRISTINA McCALL
                                                              Assistant United States Attorney
 9

10   Dated: April 20, 2020                                    /s/ TOM JOHNSON
                                                              TOM JOHNSON
11
                                                              Counsel for Defendant
12                                                            ALEXANDER FRANCO
                                                              GUTIERREZ
13   Dated: April 20, 2020                                    /s/ DINA SANTOS
                                                              DINA SANTOS
14                                                            Counsel for Defendant
                                                              EDUARDO CARTAGENA
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      STIPULATION TO CONTINUE STATUS
      CONFERENCE AND EXCLUDE TIME UNDER                   3
      SPEEDY TRIAL ACT; FINDINGS AND ORDER
               Case 2:18-cr-00166-DC Document 35 Filed 04/21/20 Page 4 of 4

 1                                         FINDINGS AND ORDER

 2          The Court has read and considered the Stipulation to Continue Status Conference and Exclude

 3 Time Under Speedy Trial Act filed by the parties in this matter. The Court hereby finds that the

 4 Stipulation, which this Court incorporates by reference into this Order, demonstrates facts that provide

 5 good cause for a finding of excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161. Time is

 6 hereby excluded between April 30, 2020 and July 16, 2020.

 7          The Court further finds that: (i) the ends of justice served by the continuance outweigh the best

 8 interest of the public and defendant in a speedy trial; and (ii) failure to grant the continuance would deny

 9 defense counsel the reasonable time necessary for effective preparation, taking into account the exercise

10 of due diligence.

11          Nothing in this Order shall preclude a finding that other provisions of the Speedy Trial Act

12 dictate that additional time periods are excluded from the period within which trial must commence.

13 DATED: April 20, 2020

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16                                                               Troy L. Nunley
                                                                 United States District Judge
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      STIPULATION TO CONTINUE STATUS
      CONFERENCE AND EXCLUDE TIME UNDER                  4
      SPEEDY TRIAL ACT; FINDINGS AND ORDER
